                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 4:17-cr-20-HSM-SKL
v.                                                    )
                                                      )
DANTE ALLEN                                           )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 29,

2017.   At the hearing, defendant moved to withdraw his not guilty plea to Count One of the

eighteen-count Indictment and entered a plea of guilty to the lesser included offense of the

charge in Count One, that is of conspiracy to distribute 28 grams or more of a mixture and

substance containing cocaine base, (“crack”), a Schedule II controlled substance, in violation of

21 U.S.C. §§ 846 and 841(b)(1)(B) in exchange for the undertakings made by the government in

the written amended plea agreement.       On the basis of the record made at the hearing, I find the

defendant is fully capable and competent to enter an informed plea; the plea is made knowingly

and with full understanding of each of the rights waived by defendant; the plea is made

voluntarily and free from any force, threats, or promises, apart from the promises in the amended

plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to

Count One of the Indictment be granted, his plea of guilty to the lesser included offense of the

charge in Count One of the Indictment, that is of conspiracy to distribute 28 grams or more of a

mixture and substance containing cocaine base, (“crack”), a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) be accepted, the Court adjudicate defendant



Case 4:17-cr-00020-TRM-SKL            Document 72 Filed 11/30/17            Page 1 of 2     PageID
                                            #: 206
guilty of the lesser included offense of the charge in Count One of the Indictment, that is of

conspiracy to distribute 28 grams or more of a mixture and substance containing cocaine base,

(“crack”), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B),

and a decision on whether to accept the amended plea agreement be deferred until sentencing.     I

further RECOMMEND defendant remain in custody until sentencing in this matter.

Acceptance of the plea, adjudication of guilt, acceptance of the amended plea agreement, and

imposition of sentence are specifically reserved for the district judge.


                                              s/  fâátÇ ^A _xx
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen days after the plea
hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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Case 4:17-cr-00020-TRM-SKL           Document 72 Filed 11/30/17            Page 2 of 2    PageID
                                           #: 207
